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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

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                                                :                                     MDL Docket No. 1629
In re: NEURONTIN MARKETING,                     :
       SALES PRACTICES AND                      :                                     Master File No. 04-10981
       PRODUCTS LIABILITY LITIGATION            :
----------------------------------------------- x                                     Judge Patti B. Saris
                                                :
THIS DOCUMENT RELATES TO:                       :                                     Magistrate Judge Leo T.
                                                :                                     Sorokin
       Bulger v. Pfizer Inc., et al.            :
      Case No. 07-11426-PBS                     :
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     DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF PFIZER INC. AND
    WARNER-LAMBERT COMPANY LLC’S MOTION TO EXCLUDE THE SPECIFIC
       CAUSATION TESTIMONY OF DOCTORS MARIS AND KRUSZEWSKI

         Defendants, Pfizer Inc. and Warner-Lambert Company LLC (“defendants”), respectfully

submit this reply memorandum in support of their motion to exclude the specific causation

testimony of Doctors Maris and Kruszewski.

                                      PRELIMINARY STATEMENT

         Under Daubert and Rule 702, the Court must scrutinize the reliability of plaintiff’s

experts’ methods, as well as the reliability of their application of those methods to the facts of

this case.1     Plaintiff concedes that his experts did not conduct a methodologically proper

differential diagnosis (as Dr. Maris has repeatedly admitted), in that they have not ruled out


1
  Plaintiff’s contention that the field of behavioral science is “soft science” not subject to Daubert and that his
expert’s testimony should be admitted merely because he believes they are qualified is misplaced. Setting aside that
psychiatry is a medical science, and qualified psychiatrists with expertise in suicide do not agree with plaintiff’s
unsupported characterization of it as “soft,” Daubert is a threshold requirement for all expert testimony for
reliability and admissibility. Whether an expert is qualified is a separate inquiry. See generally Braun v. Lorillard,
Inc., 84 F.3d 230, 235 (7th Cir. 1996) (Daubert is aimed at abuse: “That abuse is the hiring of reputable scientists,
impressively credentialed, to testify for a fee to propositions that they have not arrived at through the methods that
they use when they are doing their regular professional work rather than being paid to give an opinion helpful to one
side of a lawsuit.”).



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alternative risk factors as causes of Mrs. Bulger’s suicide.              Their opinions, therefore, rest

exclusively on temporality (post hoc ergo propter hoc) and subjective belief.                            This

“methodology” for specific causation is insufficient under Daubert and Rule 702, and warrants

exclusion of their specific causation opinions.


                                               ARGUMENT

I.      PLAINTIFF'S EXPERTS EITHER ADMIT THAT THEY DID NOT CONDUCT A
        DIFFERENTIAL DIAGNOSIS, OR MISAPPLIED THE METHOD BY FAILING
        TO RULE OUT ALTERNATIVE CAUSES

        A.       Dr. Maris Admitted He Has Not Conducted A Differential Diagnosis.

        As an initial matter, Dr. Maris testified that he does not ascribe to, and did not use,

differential diagnosis as a methodology in this case. McGroder Decl., Ex. 1 at 1253:4-23 (“First

of all, I don't have the same model that you are assuming, which is the differential diagnosis

model, where you rule out alternatives. My theory is, as you know, is that I rule them in, and I

talk about them actually contributing to make her part of a vulnerable minority of patients. . . . So

I am not ruling these things out. I never tried to rule them out.”). Notwithstanding this

unequivocal testimony, plaintiff and Dr. Maris attempt to rewrite the record in a belatedly

submitted declaration; and now insist—in spite of his numerous admissions to the contrary2—

that Dr. Maris conducted a differential diagnosis ruling out Mrs. Bulger’s alternative suicide risk

factors. It is clear, based on Dr. Maris’ testimony under oath, that he made no effort to rule out

alternative causes, but instead, “embraced them” as part of his method.                      This approach

unmistakably is not differential diagnosis.




2
  Defendants have concurrently filed a motion to strike plaintiff’s experts’ untimely and improper declarations
attempting to fix flaws in the methodologies.


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       B.      Plaintiff’s Experts Did Not Properly “Rule In” Or Adequately Investigate
               The Number One Risk Factor for Suicide, Mrs. Bulger’s Multiple Prior
               Suicide Attempts.

       Even assuming that plaintiff’s experts attempted to conduct a differential diagnosis, they

did it wrong. This methodology requires plaintiff’s experts to “rule in” all potential causes or

risk factors for Mrs. Bulger’s suicide. Def. Br. at 4−5, 15−16. In assessing a causal relationship,

an expert must not exclude relevant evidence, and should obtain information “to minimize the

likelihood of a false conclusion.” Miller v. Pfizer, 196 F. Supp. 2d 1062, 1086 (D. Kan. 2002).

Critical to an expert’s inquiry in a suicide case should be the decedent’s prior history of suicidal

behavior and thinking. See id. at 1085.        Dr. Kruszewski unreliably failed to “rule in” all

alternative potential causes of Mrs. Bulger’s suicide—most significantly, prior suicide

attempts—and neither expert investigated the circumstances surrounding her history of suicidal

behavior.


       First, Dr. Kruszewski failed to “rule in” the number one risk factor for suicide, Mrs.

Bulger’s numerous prior suicide attempts. See Def. Br. at 16−17. Although Dr. Kruszewski now

claims to have “considered” Mrs. Bulger’s prior suicide attempts, Pl. Opp. Br. at 16−17, it is

undisputed that: (1) he did not even identify prior suicide attempts (or suicidal thoughts) in his

expert report on his list of Mrs. Bulger’s suicide risk factors, compare Def. Br. at 16−17 with Pl.

Opp. Br. at 17, and (2) he testified under oath at his deposition that the list of risk factors in his

report was a complete list of all the risk factors he considered. McGroder Decl., Ex. 2 at

62:1−11. Plaintiff makes much of the fact that Dr. Kruszewski devoted three brief sentences

about “conflicted evidence” in the “various commentary” section of his report. Pl. Opp. Br. at




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16.3 That commentary is not, however, the section of Dr. Kruszewski’s report where he purports

to conduct his differential diagnosis by identifying and analyzing Mrs. Bulger’s risk factors for

suicide.


         Plaintiff’s attempt to “backfill” the flaws in Dr. Kruszewski’s opinion (by claiming that

he, in fact, put prior suicide attempts on the list) does nothing to “fix” the additional flaws in his

purported differential diagnosis.4 It is undisputed that neither expert did anything to investigate

Mrs. Bulger’s prior attempts for distinguishing characteristics from what they claim is her

“Neurontin-induced suicide.” Plaintiff has not refuted that, as the closest approximations of her

ultimate suicide, Mrs. Bulger’s prior attempts have much to offer plaintiff’s experts by way of

explaining her suicide, if they had only investigated them. Def. Br. at 17. Plaintiffs’ experts’

opinions in Mille, 196 F. Supp. 2d at 1087, Haggerty v. Upjohn Co., 950 F. Supp. 1160, 1166−67

(S.D. Fla. 1996), and Cloud v. Pfizer, 198 F. Supp. 2d 118, 1136 (D. Ariz. 2001), were excluded

as unreliable and inadmissible due, in part, to the experts’ failure to fully probe alternative causes

of the decedent’s violence or suicide.                Setting aside plaintiff’s experts’ new declarations

attempting to patch and repair their original reports, plaintiff cannot undo the fact that Drs. Maris

and Kruszewski admit they did nothing to investigate or compare the events precipitating Mrs.

Bulger’s prior suicide attempts and her intent at those times with her ultimate suicide, to probe

3
  That Dr. Kruszewski failed to even consider prior suicide attempts—let alone rule them out—as an alternative
explanation for Mrs. Bulger’s suicide, and that plaintiff goes to extreme lengths to try to read this into Dr.
Kruszewski’s analysis, highlights the seriousness of this flaw in his methodology. No qualified psychiatrist in the
real world would forget or ignore a prior history of suicide attempts in conducting a suicide assessment and
differential diagnosis.
4
  For example, while Dr. Kruszewski mentions Mrs. Bulger’s GED among her protective factors, he does not list
suicide attempt among her risk factors. Pl. Opp. Br. at 17. And, of all the voluminous records about Mrs. Bulger’s
several suicide attempts that Dr. Kruszewski selects to evaluate, Dr. Kruszewski chooses a single passage from the
deposition of Linda Landry and a single intake questionnaire, but none of the actual medical records regarding her
prior suicide attempts. Id. at 16. This exclusion is not particularly surprising given that the cited records purport to
support his hypothesis, but convey the least information about Mrs. Bulger’s prior attempts.



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for similarities or differences. Def. Br. at 9 n.5 (Dr. Maris); Id. at 16−17 (Dr. Kruszewski).

Despite this admitted failure to even investigate her prior suicide behavior, Dr. Maris

unscientifically discounts Mrs. Bulger’s past suicide attempts as “cries for help.” Pl. Opp. at 5.

As in Miller, plaintiff’s experts’ failure to investigate Mrs. Bulger’s prior suicide attempts

(assuming they were considered at all) renders their purported differential diagnosis unreliable.


        C.       Plaintiff’s Experts Are Required To, But Did Not, Rule Out Mrs. Bulger’s
                 Numerous Risk Factors That Fully Explain Her Suicide.

        Not only did plaintiff’s experts fail to “rule in” or fully consider Mrs. Bulger’s prior

suicide attempts, but they also failed to properly “rule out” numerous alternative causes of Mrs.

Bugler’s suicide—a premise plaintiff does not dispute. Pl. Opp. Br. at 8−11, 18. This failure, in

and of itself, renders their methodology and opinions unreliable. Contrary to plaintiff’s

assertions, and ignoring overwhelming precedent, Pl. Opp. Br. at 8−10, the differential diagnosis

method follows generally accepted and scientifically reliable standards, among which is the

requirement that an expert rule out alternative potential causes. See Rutigliano v. Valley Bus.

Forms, 929 F. Supp. 779, 786 (D.N.J. 1996). Indeed, the Daubert decision was based, in part, on

the expert’s failure to “explain how . . . he was able to eliminate all other potential causes of [the]

birth defects.” Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1319 (9th Cir. 1995).5




5
  Plaintiff’s argument that his experts need not rule out alternative causes is based on cases interpreting the
substantial factor test and principles of comparative negligence that predate Daubert and address plaintiff’s
substantive law burden on causation, not admissibility under Daubert. Pl. Opp. Br. at 8. Daubert is an initial
threshold inquiry to determine whether an expert’s methodology is reliable and admissible. Def. Br. at 4−5.
Whether a plaintiff has proven that the suspected cause was a substantial factor in his injury is a separate,
subsequent inquiry. See generally, Sutera v. Perrier Group of Am. Inc., 986 F. Supp. 655 (D. Mass. 1997) (applying
Daubert to exclude unreliable expert and then applying the substantial factor test to grant defendant’s motion for
summary judgment). None of the authority cited by plaintiff suggests that plaintiff’s substantive law burden of
proof should lower—let alone abrogate—plaintiff’s burden to demonstrate admissibility of his experts’ opinions
under Daubert and Rule 702. Accord In Re Paoli R.R. Yard PCB Litig., 35 F. 3d 717 ,760 n.31 (3d Cir. 1994).



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         And plaintiff’s argument is belied by the very case law he cites. For instance, plaintiff

cites Baker v. Dalkon Shield, 156 F.3d 248, 253 (1st Cir. 1998), Pl. Opp. Br. at 10 n.11, but the

expert in Baker worked by “narrowing the more likely causes until the most likely culprit [was]

isolated.” Id. Plaintiff, conversely, insists that his experts have not (and need not) rule out

alternative causes, nor do his experts testify that Neurontin was the most likely cause of Mrs.

Bulger’s suicide. In addition, unlike the expert in Baker, Drs. Maris and Kruszewski have not

attributed the decedent’s injury to its most common cause generally, id. at 252; instead, they

have picked Neurontin over numerous more common (and recognized) causes of suicide without

any scientific basis. Nor have Drs. Maris and Kruszewski identified anything unique about Mrs.

Bulger’s suicide that caused them to attribute it to Neurontin as opposed to other factors, which

was present in Baker.6 This case, and many others,7 demonstrate that plaintiff’s experts’ failure

to rule out obvious and likely alternative causes renders their methodology and opinions

unreliable and inadmissible.




6
 The expert in Baker testified that “Baker’s specific medical injuries from PID [pelvic inflammatory disease] were
consistent with damages caused by Chlamydia,” and did not have the physical appearance of “the acute kind [of
PID] caused by gonorrhea.” Baker, 156 F.3d at 252.
7
  Plaintiff overstates Paoli, 35 F.3d at 760, which, while it does state that an expert need not always rule out all
alternative causes with certainty, went on to affirm the exclusion of several experts, finding that in cases where the
defendants point to some likely alternative cause, an expert should be excluded who does not engage in standard
diagnostic techniques ruling out alternative causes and who cannot offer a reasonable explanation for still believing
the defendants’ actions were a substantial factor in comparison. Id.

Other cases cited by plaintiff are distinguishable. See Annello v. Shaw Indus., Inc., No. 95-30234-FHF, 2000 U.S.
Dist. LEXIS 6835, *13 (D. Mass. Mar. 31, 2000) and Goebel v. Denver & Rio Grande W. R.R. Co., 346 F.3d 987,
989 (10th Cir. 2003). In the former, unlike Drs. Maris and Kruszewski, the expert discredited other potential causes.
Drs. Maris and Kruszewski, in contrast, admit that they cannot discredit a multitude of other possible causal factors
in Mrs. Bulger’s suicide. Pl. Opp. Br. at 11, 18. In the latter, the expert simply had not explicitly ruled out
depression and testified that the plaintiff’s symptoms were “classic” of acute mountain sickness and high altitude
cerebral edema, Goebel, 346 F.3d at 998, a distinction that lends further support to the requirement that plaintiff’s
experts identify some hallmark of an allegedly Neurontin-induced suicide that differentiates it from other risk
factors. See infra Part III. Neither expert can identify any such generally accepted “classic” symptom or appearance
of a “Neurontin-induced” suicide.



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         Nor is this case any different simply because it involves suicide or because suicide has

multiple risk factors, as plaintiff tries to argue, relying on Giles v. Wyeth, 500 F. Supp. 2d 1048

(S.D. Ill. 2007).8 Plaintiff’s reliance on Giles only bolsters defendants’ argument that Dr. Maris

has applied his method unreliably in this case. At his deposition in this case, Dr. Maris was

asked to explain how he ruled out Mrs. Bulger’s use of Effexor as the “scale-tipper” for her

suicide, when he opined in Giles that Effexor was the “scale-tipper” and “just-noticeable

difference maker” for the suicide in that case. McGroder Decl., Ex. 1 at 913:16−918:16. Not

seeming to understand that he was being asked about his methodology, Dr. Maris disavowed his

opinion in Giles—testifying that the Giles jury rejected it as “wrong” when they entered a

defense verdict—and was completely unable to reconcile the two conflicting opinions, id.—yet

another example of how his methodology is unreliable and litigation-driven.9


         Furthermore, Giles is an outlier. The differential diagnosis method is always used in

cases where the injury has multiple potential causes—otherwise it would not be needed—and

many injuries besides suicide involve the interplay of multiple risk factors.10 Other courts have



8
  Plaintiff also cites dicta from Smith v. Pfizer, No. CIV.A. 98-4156-CM, 2001 U.S. Dist. LEXIS 12983, at 1−2 (D.
Kan. Aug. 14, 2001), and fails to point out that in this case, the court excluded plaintiff’s experts’ general causation
opinion as unreliable, and found plaintiff’s expert had ruled out alcoholism as a cause before granting summary
judgment for defendants.
9
  Among other things, plaintiff’s opposition ignores defendants’ challenge to the litigation-driven nature of Drs.
Maris and Kruszewski’s inquiries, namely, the marshaling of facts to pre-ordained conclusions, which defendants
have demonstrated by the errors in the psychological autopsy and Dr. Maris’ report, Def. Br. at 11−12, his use of
verbatim legal metaphors across every prescription drug case in which he has ever testified, id. at 5 n.2, and by Dr.
Kruszewski’s ad hoc dismissal of pertinent facts and deposition chicanery. Id. at 17−19. Dr. Kruszewski even went
so far as to admit in another Neurontin case, that the only way he would not opine that Neurontin was a substantial
factor was if there were no evidence the decedent was prescribed or took Neurontin. McGroder Decl., Ex. 2 at
108:18−110:23. Plaintiff’s experts should be excluded as unreliable on this basis alone. Def. Br. at 5 n.2 (citing
Cloud, 198 F. Supp. 2d at 1135 and Claar v. Burlington N.R.R., 29 F.3d 499, 502−03 (9th Cir. 1994)).
10
  For example, Nat’l Bank of Commerce v. Dow, 965 F. Supp. 1490, 1513−14 (E.D. Ark. 1996), which plaintiff has
yet to address, dealt with colon cancer and the court explicitly explained that one problem with the reliability of the
expert’s method was that colon cancer has multiple risk factors, some of which the expert could not rule out with


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excluded experts’ opinions as unreliable where the expert did not rule out alternative causes of

the decedent’s suicide, such as self-destructive behavior and psychological problems. Haggerty,

950 F. Supp. at 1166−67 (excluding expert’s specific causation opinion that drug caused

violence as unreliable); Cloud, 198 F. Supp. 2d at 1135-37 (excluding expert’s specific causation

opinion that drug caused suicide as unreliable); Miller v. Pfizer, 196 F. Supp. 2d at 1085-86

(same); Blanchard v. Eli Lilly, 207 F. Supp. 2d 308, 320 (D. Vt. 2002) (same).11


II.     THE SOLE BASIS FOR PLAINTIFF’S EXPERTS’ OPINION IS TEMPORALITY

        Failing to apply the differential diagnosis methodology properly, or otherwise failing to

rule out alternative causes of Mrs. Bulger’s suicide, plaintiff’s experts’ “method” boils down to

nothing more than temporality, i.e., because Mrs. Bulger committed suicide, and because Mrs.

Bulger took Neurontin, Neurontin must have caused the suicide. This reliance on temporality

has been rejected by this Court (and others) because it suffers from the logical fallacy of post hoc

ergo propter hoc and is yet another basis for excluding plaintiff’s experts’ testimony. Whiting v.

Boston, 891 F. Supp. 12, 23 n.52 (D. Mass. 1995); Def. Br. at 7−8 (citing, e.g., McClain v.

Metabolife, 401 F.3d 1233, 1243 (11th Cir. 2005)).


        Although plaintiff claims on the one hand that his experts did not rely on pure

temporality, see, e.g., Pl. Opp. Br. at 4 n.3, 13, 18−20, on the other hand, plaintiff argues—




certainty. Def. Br. at 6−7. The fact that colon cancer has multiple risk factors did not excuse the expert from the
requirement that he rule out alternative possible causes. Id.
11
   See also Latiolais v. Merck Co., No. CV 06-02208 MRP (JTLx), 2007 WL 5861354, *4 n.2 (C.D. Cal. Feb. 6,
2007) (“To that end, Dr. Golomb also did not perform any differential analysis in order to rule out potential
alternative causes of Decedent’s suicide, such as Decedent’s preexisting mental health or job stress or the fact that
Decedent was taking sleeping medication near the time of his suicide . . .”).



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contrary to established precedent—that it is permissible to do so.12 Despite plaintiff’s waffling,

there is no getting around the fact that post hoc ergo propter hoc is plaintiff’s experts’ only

support. Def. Br. at 8. Plaintiff’s experts’ sole basis for opining that Neurontin, as compared to

all of Mrs. Bulger’s alternative risk factors (that fully explain her suicide), was the proximate,

substantial causal factor is that this time, unlike her other three or four prior attempts, she was on

Neurontin. For example, Dr. Maris opines that, notwithstanding Mrs. Bulger’s pre-existing risk

factors (which he did not fully investigate), she did not kill herself earlier, but merely tried to kill

herself multiple times. So he asks, “why now?” see id. at 8−9, and his answer is Neurontin.13

Dr. Kruszewski merely opines that because her prior suicide attempts did not kill her, but this

one did, he knows it was Neurontin. Both Dr. Maris’ “coping” theory (i.e., that Mrs. Bulger was

“coping” until she took Neurontin, so Neurontin must have caused her suicide) and Dr.

Kruszewski’s attempt to distinguish Mrs. Bulger’s prior attempts as “non-lethal” (i.e., that her

prior suicide attempts are different because she did not die—although he agrees that this is

merely by chance), are variations of the same fallacy. Id. at 11, 18−20.


         Plaintiff’s experts also opine that because Mrs. Bulger’s pre-existing risk factors became

worse after she began taking Neurontin—simultaneously ignoring that those same factors had

been worse at times when she was not taking Neurontin—it must be because of Neurontin.


12
  Plaintiff suggests that permitting an expert to rely on temporality is the “modern trend,” see Pl. Opp. Br. at 12
n.14 (citing Zuchowicz v. U.S., 140 F.3d 381, 389 (2d Cir. 1998)), but plaintiff leaves out that this portion of the
opinion is discussing whether plaintiff had met the substantive law burden of proof on causation after the court had
conducted its separate Daubert/reliability inquiry, see id. at 386−88, and that the experts at issue provided direct
evidence of a causal relationship, not just temporality alone. Id. at 391.
13
   Notably, outside of litigation, Dr. Maris applies a different methodology, asking instead: “what was the decedent
trying to escape?” Plaintiff ignores that the only reason for Dr. Maris to change his inquiry in this litigation and ask
“why now?” is because asking what the decedent was trying to escape would point to other risk factors for suicide,
and not the agent advantageous to the plaintiff’s claim, Neurontin. Compare Def. Br. at 8 n.4 with Pl. Opp. Br. at
11−13.



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Again, plaintiff’s experts resort to temporality as the lone basis for this opinion. Pl. Opp. Br. at 2,

13.   Setting aside the absence of any factual or scientific support for the proposition that

Neurontin made her condition worse,14 the flaw in their opinion is also that it is solely based on

temporality. Plaintiff’s experts made no effort to rule out other causes for her alleged symptoms

(e.g., feeling “devoid of life and anhedonic”), such as abuse of street drugs, methadone overuse,

longstanding depression, and psychosocial stressors (e.g., marital discord, severe financial strain,

and health problems), to name a few.15 In addition, the experts have cherry-picked evidence in

an attempt to demonstrate a temporal relationship between Mrs. Bulger’s alleged ingestion of

Neurontin and her alleged worsening symptoms. For instance, Dr. Maris credits Ron Bulger

Sr.’s contradictory testimony that his wife both exhibited “dramatic” behavior changes, Def. Br.,

Sayler Decl. Ex. 10 at 26, and increased suicidal ideation before she committed suicide, id. at

22−25 (used to prove that Neurontin worsened symptoms), and that “there was nothing unusual

in Susan’s behavior the two weeks prior to her suicide.” Id. at 31−33 (used to rule out other

triggers besides Neurontin). Plaintiff’s experts’ “method,” rests entirely on temporality, and

should be rejected under established precedent disavowing the post hoc ergo propter hoc fallacy




14
  In making this and other arguments, plaintiff devotes much of his opposition to general causation. Plaintiff’s
experts’ general causation opinions are subject to a separate challenge pending before this Court. Plaintiff’s experts
must also apply a reliable scientific method to the facts of this case for their specific causation opinions to be
admissible, independent of any ruling on the issue of general causation.
15
  The psychological autopsy, for example, looks only at the decedent’s behavior after taking Neurontin. Def. Br.,
Sayler Decl. Ex. 11 at 16 (“Here the interviewer should discover and record any neurological, behavioral, physical,
or attitudinal changes that occurred after the ingestion of NEURONTIN”) (original emphasis). Plaintiff’s experts
point to Mrs. Bulger’s medical records after taking Neurontin, when they could have just as easily and arbitrarily
pointed to her records before, except that these records demonstrate that Mrs. Bulger’s problems were just as severe
before. See, e.g., Def. Br. at 2−3. The source for the crucial piece of evidence plaintiff’s experts rely on, that Mrs.
Bulger was “devoid of life and anhedonic,” Pl. Opp. Br. at 2, is Ron Bulger Sr.’s statement to Dr. Crognale that this
period of depression had been going on for two to three months, which means that it actually began well before Mrs.
Bulger started Neurontin. McGroder Decl., Ex. 1 at 1053:19−1055:8, 1056:20−1058:8.



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as an unreliable basis for an expert’s methodology. See Whiting, 891 F. Supp. at 23 n.52; Def.

Br. at 7−8 (citing, e.g., McClain v. Metabolife, 401 F.3d 1233, 1243 (11th Cir. 2005)).16


III.    PLAINTIFF’S EXPERTS HAVE NO RELIABLE BASIS TO DIFFERENTIATE A
        SUICIDE CAUSED BY NEURONTIN FROM A SUICIDE CAUSED BY PRE-
        EXISTING RISK FACTORS

        Ultimately, plaintiff’s experts’ failure to rule out alternative causes of the decedent’s

suicide, leaves them with no reliable basis—other than subjective belief and speculation—for

differentiating Neurontin from Mrs. Bulger’s extensive list of pre-existing risk factors for

suicide. Plaintiff’s experts acknowledge that suicide occurs in the general population, and in

rates higher than the general population for individuals like Mrs. Bulger, with co-morbid

psychiatric illness, chronic pain, and substance abuse,17 and they opine that not every patient

who commits suicide while on Neurontin does so because of Neurontin.                            In this context,

plaintiff’s experts must either rule out alternative risk factors or point to symptoms that one

would not expect to find in any other suicide case that would allow them to distinguish

Neurontin (on the basis of something other than speculation) from the well-known risk factors

that fully explain Mrs. Bulger’s suicide. Def. Br. at 6−7. See Nat’l Bank of Commerce v. Dow,

965 F. Supp. at 1513−14, Baker, 156 F.3d at 253; Goebel, 346 F.3d at 989. Plaintiff’s experts

admit that they have done neither.18 Moreover, plaintiff’s response to this argument is limited to


16
  In all of the cases cited by plaintiff, Heller v. Shaw Indus. Inc., 167 F.3d 146, 154 (3d Cir. 1999), Westberry v.
Gislavad Guummi AB, 178 F.3d 257, 265 (4th Cir. 1999), Zuchowicz v. U.S., 140 F.3d 381, 385−90 (2d Cir. 1998),
and Tobin v. Smithkline Beecham Pharms., 164 F. Supp. 2d 1278 (D. Wyo. 2001), the expert at issue (1) relied on
other bases, in addition to temporality, in applying his methodology, and (2) the onset of the plaintiff’s injuries
began with exposure. Drs. Maris and Kruszewski, on the other hand, admit the decedent’s risk factors were pre-
existing and offer the fallacy alone for their differentiation of Neurontin from those risk factors.
17
 The lifetime rate of suicide is 1 in 10,000 in the general population; the rate is higher in populations with
conditions for which Neurontin is prescribed; suicide is difficult to predict, and is often the result of unknown
causes. See Def. Br. at 1 (background on suicide).
18
  Dr. Maris readily admits he cannot identify anything unique to Mrs. Bulger’s suicide, Pl. Opp. Br. at 11 n.12,
while Dr. Kruszewski purports to identify as a “hallmark” that the decision to commit suicide “was abrupt, acute,


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one conclusory footnote relying on the self-serving declaration of Dr. Maris that a “hallmark” is

not necessary; this is the epitome of ipse dixit. Pl. Opp. Br. at 11 n.12.


         Stripped of semantics, plaintiff’s experts’ opinions about the role of Neurontin in Mrs.

Bulger’s suicide amount to subjective belief and inadmissible speculation that would not help a

jury. See Whiting, 891 F. Supp. at 25; Haggerty, 950 F. Supp. at 1167. Plaintiff instead asks this

Court to admit his experts’ testimony based solely on the assumption that because Mrs. Bulger

took Neurontin, her suicide was caused by Neurontin.19 Yet, plaintiff’s experts have failed to

follow any generally accepted reliable methodology for determining specific causation, and Dr.

Maris asserts that he should be excused from doing so. Nor have the experts otherwise explained

why Mrs. Bulger’s suicide was caused by Neurontin, rather than her numerous pre-existing

suicide risk factors. Plaintiff’s instead ask the Court to take his experts word for it because they

are “qualified.” The Court need not and should not admit these opinions on the ipse dixit of the

experts. See Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).



was—did not happen over a protracted period of time.” Id. at 19. Plaintiff here, however, does not contend, nor
could he, that Mrs. Bulger’s suicide was of that type. Id. Indeed, plaintiff’s own expert Dr. Roh contends that Mrs.
Bulger agonized her decision for 20 minutes while continuing to press her weight into the rope around her neck as
she kneeled, McGroder Decl., Ex. 4 at 2, and plaintiff himself stated to the police: “Last time was the same. She
never said a word. She took a bottle of pills.” McGroder Decl., Ex. 1 at 1212:17−19.
19
   Plaintiff’s “vulnerable minority” theory only underscores his experts’ failure to rule out alternative causes of Mrs.
Bulger’s suicide and differentiate her suicide as “Neurontin induced” from all other recognized explanations. See Pl.
Opp. Br. at 5, 11, 14, 19. Dr. Kruszewski, Pl. Opp. Br. at 19, and, more recently, Dr. Maris, id. at 5, hypothesize
that Mrs. Bulger was a member of a “vulnerable minority” of individuals susceptible to Neurontin because of her
pre-existing risk factors. Dr. Kruszewski, however, cannot prospectively identify which individuals belong to the
“vulnerable minority,” and the markers he retrospectively examines to determine whether a person’s suicide was
caused by Neurontin are the same regardless of whether Neurontin was involved. Def. Br. at 19. In other words, Dr.
Kruszewski’s “vulnerable minority” is anyone already at risk of suicide, and, just as with his application of
differential diagnosis, he provides no way to identify why Mrs. Bulger was “vulnerable” other than all the risk
factors that made her independently susceptible or “vulnerable” to suicide regardless of Neurontin. Thus, according
to this theory, the only explanation for identifying Mrs. Bulger as “vulnerable” is because she was allegedly taking
Neurontin. This reasoning is, at best, no better than post hoc ergo propter hoc, and, at worst, circular and completely
speculative. See Rotman v. Nat’l R.R. Passenger Corp., 669 N.E.2d 1090, 1091 (Mass. App. Ct. 1996) (affirming
expert’s exclusion: “there was no way to identify the patients in whom trauma exacerbated optic neurosis . . . .”).



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IV.     PLAINTIFF'S EXPERTS' UNRELIABLE METHODOLOGY EXTENDS
        BEYOND THEIR IMPROPER USE OF DIFFERENTIAL DIAGNOSIS

        Plaintiff’s opposition attempts to resurrect his experts by claiming that Drs. Maris and

Kruszewski used methods other than differential diagnosis that are acceptable, such as the

psychological autopsy and Naranjo scale.20 Plaintiff’s argument that these methods are generally

reliable misses the mark.          Defendants do not contend that the psychological autopsy, for

example, is never reliable, but instead, that Dr. Maris has unreliably applied this method to the

facts of this case. See Def. Br. at 10.


        A.       Dr. Maris Uses His Suicide Chart Unreliably.

        As an initial matter, and contrary to plaintiff’s opposition, e.g. Pl. Opp. Br. at 3; Id. at 4

n.1, defendants have challenged Dr. Maris’ qualifications to opine on general causation largely

on the basis of his own repeated admissions that he is “not competent” to offer an opinion on

Neurontin’s mechanism of action and relies entirely on plaintiff’s other experts’ for his general

causation opinion. Def. Br. at 14. Dr. Maris’ repeated statements under oath that he is not

qualified is alone a sufficient basis to disqualify him from offering general causation opinions in

this case.


        Moreover, plaintiff essentially concedes the unreliability of Dr. Maris’ self-described

“general causation model” (his suicide chart) by defending it in half a footnote. Pl. Opp. Br. at 6

n.6. Further, plaintiff does not dispute that the chart was not timely disclosed and has never been

“generally accepted” as it is offered in this case. Contrary to plaintiff’s blanket assertion, id., Dr.

Maris’ suicide chart does not appear in any peer-reviewed publication in its present form; the

20
  Plaintiff also suggests (in a footnote) that Dr. Kruszewski applied the Bradford Hill criteria and Naranjo scale as
part of his specific causation methodology. Pl. Opp. Br. at 14−15; Id. at 20 n.24. As Dr. Kruszewski himself,
admits, however, neither is a reliable method for determining specific causation. Def. Br. at 15−16 n.13. This is
entirely consistent with defense expert’s use of the Bradford Hill criteria in his general causation report. See
McGroder Decl., Ex. 3.


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published version of the model does not show or even suggest that medication is a suicide

“trigger,” but instead shows medication as a protective factor. Dr. Maris’ litigation-driven

version of the chart presented in this case is an unscientific and litigation-driven attempt to

retrofit the model to his causation opinion for purposes of testifying for plaintiffs in Neurontin

litigation. Def. Br. at 14−15.


         B.       Dr. Maris Applies the Psychological Autopsy Method Unreliably.

         Plaintiff puts up a straw man arguing that the psychological autopsy method is generally

reliable. Pl. Opp. Br. at 5. It is Dr. Maris’ unreliable application of the psychological autopsy

methods to the facts of this case that renders his opinion inadmissible.21 Indeed, Dr. Maris failed

to follow his own methodological standards for use of a psychological autopsy outside the

courtroom, infecting his analysis here with mistakes and biases. Def. Br. at 11−13. For example,

despite previously insisting that the psychological autopsy be conducted by a qualified

suicidologist or other appropriate healthcare official, and centered on face-to-face interviews of

two to three people with knowledge, Dr. Maris merely relied on a paid employee of plaintiff’s

law firm to perform the “psychological autopsy,” in this case, disregarding all of the steps that

help ensure reliability, such as interviews of family members. Id. Plaintiff’s only response to this

argument is that it is permissible to use plaintiff’s counsel as a source of information. Pl. Opp.

Br. at 7.     But defendants’ challenge is much more nuanced than plaintiff’s response.                           As


21
   Plaintiff’s cited cases provide further support for defendants’ argument that regardless of the reliability of the
psychological autopsy generally, the court properly excludes experts who unreliably apply that method to the facts
of the case. See Cloud, 198 F. Supp. 2d at 1135; Blanchard, 207 F. Supp. 2d at 320; Miller v. Pfizer, 196 F. Supp. 2d
at 1068 (notably plaintiff cites the earlier Miller v. Pfizer, No. 99-2326, 199 U.S. Dist. LEXIS 18345 (D. Kan. Nov.
10, 1999)) (all three cases excluding the plaintiffs’ proffered experts who used psychological autopsies as unreliable
and inadmissible on the issue of specific causation, and granting summary judgment in favor of the defendants on
the issue of causation). Herrin v. Treon, 459 F. Supp. 2d 525, 530 (N.D. Tex. 2006) and Yanco v. U.S., 45 Fed. Cl.
782, 794−95 (Fed. Cl. 2000) are inapposite. Neither court even discussed the reliability of the psychological
autopsy method.



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defendants’ motion makes clear with numerous record citations, the law firm employee did much

more than serve as a source of information; she actually conducted the psychological autopsy—

twice because the first attempt was so shoddy. Def. Br. at 11−13.22 Plaintiff’s conclusory claim

(based solely on Dr. Maris’ affidavit) that Dr. Maris followed his own “professional standards” is

thus belied by the actual evidence in this case—unless the only “professional” standards Dr.

Maris has are for professional testimony in litigation using methods he concedes he would not

use in his field. As such, Dr. Maris’ testimony on the basis of the “psychological autopsy” is

unreliable and inadmissible.


         Giles and Routhier, cited by plaintiff, support defendants’ argument that Dr. Maris

applied the psychological autopsy method unreliably in this case. In Routhier v Keenan, No. 04-

1359, 2008 Mass. Super. LEXIS 372, at *17 (Mass. Super. Nov. 4, 2008) and Giles, 500 F. Supp.

2d at 1063, there is no evidence that the psychological autopsy in question was conducted by a

legal assistant of a plaintiffs’ law firm. To the contrary, the Routhier court seemed to believe

that Dr. Maris himself conducted the psychological autopsy. Routhier, 2008 Mass. Super LEXIS

372, at *14. Giles is likewise distinguishable because Dr. Maris insisted on using people he

knew with training and suicidology backgrounds to conduct the autopsy, Def. Br. at 11, and he

interviewed family members. Giles, 500 F. Supp. 2d at 1062.




22
   Although plaintiff claims by reference to Dr. Maris’ after-the-fact declaration that Dr. Maris reviewed the
psychological autopsy carefully and made numerous revisions to ensure that the information contained therein was
“accurate and complete,” Pl. Opp. Br. at 7, it is undisputed that the psychological autopsy still contained errors at the
time of Dr. Maris’ deposition—errors for which Dr. Maris blamed the law firm employee. Def. Br. at 11−12.



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V.     CONCLUSION

       The specific causation expert opinions of Drs. Maris and Kruszewski are based on

unreliable and improperly applied methodology. Accordingly, they should be excluded pursuant

to Rule 702 and Daubert.

Dated: March 12, 2009                      Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                                      /s/ David B. Chaffin
                                                      David B. Chaffin




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